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                         EXHIBIT M
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     From: Sales <Sales@ShowMeCables.com>
        To: Christopher Wade <chris@corellium.com>
   Subject: Your ShowMeCables order confirmation. Order #986435
      Date: 2019-02-27 11:29:24 -0500
Importance: Normal



         ShowMeCables




      Christopher Wade,
      Thank you for your order from ShowMeCables. Once your package ships we will
      send an email with a link to track your order. If you have questions about your
      order, you can email us at CustomerService@ShowMeCables.com or call us at
      1-888-519-9505. Our hours are Monday-Friday 7:30am-7:00pm CST, Saturday
      9:00am-3:00pm CST.

      Your Order #986435
      Placed on Feb 27, 2019, 10:29:24 AM

      Billing Info                            Shipping Info
      Christopher Wade                        Christopher Wade
      16 E Ocean Ave                          16 E Ocean Ave
      Ocean ridge, Florida, 33435             Ocean ridge, Florida, 33435
      United States                           United States
      T: 5612213899                           T: 5612213899
      chris@corellium.com


      Payment Method                          Shipping Method
      PayPal Express                          FedEx - Home Delivery
      Payer Email cmw@cmw.me


        Additional Information:

        Sales Representative          None
                                      Customer.Service@showmecables.com
                                      888-519-9505




                                                                                        Correllium-017417
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     Items Ordered                                 Price    Qty    Extended

     BS 1363 to C15 International Power Cord -     $14.99    7      $104.93
     10 Amp - 2.5 M
     SKU: 44-330-2.5M

                                                        Subtotal    $104.93

                                             Shipping & Handling     $17.12

                                                    Grand Total     $122.05

   Thank you, ShowMeCables!




                                                                              Correllium-017418
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Confidential                                                                     Correllium-003694
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Confidential-Attorneys Eyes Only                                                Correllium-014671
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Confidential-Attorneys Eyes Only                                                Correllium-014672
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Confidential-Attorneys Eyes Only                                                Correllium-014691
